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12
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13    Guardian Alliance Technologies, Inc.
14                                UNITED STATES DISTRICT COURT
15                              EASTERN DISTRICT OF CALIFORNIA
16                                      SACRAMENTO DIVISION
17    GUARDIAN ALLIANCE                          Case No.:
      TECHNOLOGIES, INC., a California
18    corporation;                               COMPLAINT
                   Plaintiff,
19    vs.
20    MILLER MENDEL, INC., a Washington
      corporation; and TYLER MILLER, an
21    individual;
22                    Defendants.                DEMAND FOR JURY TRIAL
23

24          Plaintiff, GUARDIAN ALLIANCE TECHNOLOGIES, INC. (“Guardian”), for its claims
25   and relief against Defendants MILLER MENDEL, INC. (“MMI”) and Tyler Miller (“Miller”)
26   (collectively “Defendants”) alleges:
27   ///
28   ///

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 1                            NATURE AND OVERVIEW OF THE ACTION
 2           1.      Since entering the market for public safety background management software in
 3   2011, Defendants have used their ill-gotten patent portfolio in an attempt to obtain a monopoly in
 4   the market and exclude others from meaningfully competing. By procuring contracts and stifling
 5   competition based on their fraudulently-obtained patent portfolio, Defendants have experienced
 6   millions of dollars in ill-gotten gains, and public safety agencies interested in the goods and services
 7   sold by Defendants have been subjected to increased costs and expenses, all to the detriment of
 8   competition in the marketplace.
 9           2.      In 2018, when Guardian entered the market, and when the second of Defendants'
10   fraudulently-obtained patents was issued, Defendants set a course of repeatedly suing Guardian's
11   public safety agency customers for patent infringement and threatening suits against any agency
12   who chose to use or continues using the Guardian software. Defendants have sued four Guardian
13   public safety agency customers in venues across the United States and threatened scores of
14   Guardian's other current and prospective customers. Even after the United States District Court for
15   the Eastern District of Texas invalidated Defendants' asserted patent claims, Defendants continue
16   to threaten the marketplace to intimidate Guardian's current and prospective customers into
17   terminating or not entering into contracts with Guardian to use its software.
18           3.      This action, therefore, seeks to hold Defendants liable under federal antitrust and
19   patent laws, as well as under the laws of the State of California, for unlawfully attempting to
20   monopolize the national market for public safety background management software through the
21   assertion and threatened assertion of their fraudulently-obtained patent portfolio, and other sham
22   litigation tactics. Further, Defendants have committed acts of unfair competition, including trade
23   libel, that have harmed Guardian's commercial reputation and ability to compete in the public safety
24   background management software market.
25                                              THE PARTIES
26           4.      Plaintiff Guardian is a California corporation with its principal place of business at
27   11 S. San Joaquin St., Ste. 804, Stockton, California 95202.
28   ///

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 1           5.       On information and belief, Defendant MMI is a Washington corporation with its
 2   principal place of business at 1425 Broadway, Ste. 430, Seattle, Washington 98122.
 3           6.       On information and belief, Defendant Miller is a resident of the State of
 4   Washington.
 5                                     JURISDICTION AND VENUE
 6           7.       This is an action for monetary damages and injunctive relief under: (a) Section 2 of
 7   the Sherman Act, (b) Section 4 of the Clayton Act, (c) the Patent Act, and (d) the laws of the State
 8   of California. These counts arise from the Defendants' unlawful and anti-competitive campaign to
 9   illegally monopolize the market for public safety background investigation software.
10           8.       This Court has subject matter jurisdiction over this action under at least 28 U.S.C.
11   §§ 1331, 1338, 2201, and 2202, pursuant to Section 2 of the Sherman Act, 15 U.S.C. § 2; Section
12   4 of the Clayton Act, 15 U.S.C. § 15; and the Patent Act, Title 35 of the United States Code. Given
13   this subject matter jurisdiction over these Federal Question claims, this Court further has
14   supplemental jurisdiction over the California statutory and common law claims pursuant to 28
15   U.S.C. § 1367.
16           9.       Defendants are subject to this Court's personal jurisdiction because they have and
17   continue to conduct substantial business within the State of California, including actions
18   intertwined with Guardian's causes of action against Defendants. In particular, Defendants have
19   used their fraudulently-obtained patents and threats of patent infringement to contract with and/or
20   tortiously interfere with Guardian's contractual relationships with, inter alia, the California
21   Department of Corrections, the San Joaquin (CA) County Sheriff's Office, the Kern County (CA)
22   Sheriff's Office, the Placer County (CA) Sheriff's Office, and the Fresno (CA) Police Department.
23           10.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because a
24   substantial part of the events or omissions giving rise to these claims occurred in this District.
25                                            INTRODUCTION
26           11.      Public safety background investigation management software consists of
27   specialized software, often cloud-based and delivered as Software-as-a-Service (SAAS) to clients,
28   designed to enable public safety organizations, such as local, state, and federal law enforcement

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 1   agencies, to complete pre-employment background investigations of job applicants much more
 2   efficiently and accurately, thereby facilitating more efficient, high-quality hiring decisions.
 3           12.      To monopolize or attempt to monopolize the market for background investigation
 4   management software, Defendants unlawfully obtained, based on fraud on the United States Patent
 5   and Trademark Office (USPTO), several patents on background investigation management
 6   software (the "MMI Patent Portfolio"). Specifically, and as set forth below, Defendants obtained
 7   the MMI Patent Portfolio by concealing material facts from the USPTO and, at the same time,
 8   making affirmative false statements to the USPTO to persuade it to grant the patents in the MMI
 9   Patent Portfolio.
10           13.      With the competitive benefits conferred by the MMI Patent Portfolio, Defendants
11   actively suppressed competition by (a) extensively advertising the existence of and aggressively
12   threatening enforcement of the MMI Patent Portfolio against competitors and their own existing
13   and potential customers and (b) actively enforcing the MMI Patent Portfolio against their own
14   prospective customers—i.e., bringing suit against law enforcement agencies that are or were
15   existing Guardian customers at the time of the lawsuits. Defendants' actions were made with full
16   knowledge that their enforcement activities and threatening statements were wholly predicated
17   upon the enforcement of the fraudulently-obtained MMI Patent Portfolio. Defendants knew,
18   therefore, that their actions were objectively baseless.
19           14.      Using the fraudulently-obtained MMI Patent Portfolio and by engaging in the
20   preceding anti-competitive activities, Defendants suppressed competition and attempted to obtain
21   a monopoly in the market for public safety background investigation software ("Public Safety
22   Background Investigation Software Market" or "the Market"). At a minimum, Defendants' misuse,
23   through enforcement, of the fraudulently-obtained MMI Patent Portfolio presented and continues
24   to present a dangerous probability that Defendants will succeed in obtaining an improper monopoly
25   in the Market.
26           15.      As the central plank of their anti-competitive activities, Defendants' enforcement
27   campaign currently includes the institution of four lawsuits against Guardian customers, dating
28   back to 2018. Additionally, since at least 2018, MMI has directly threatened enforcement of the

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 1   fraudulently-obtained MMI Patent Portfolio to many of Guardian's existing customers and the
 2   Market as a whole—i.e., prospective Guardian customers.
 3             16.   Through their campaign of enforcing the fraudulently-obtained MMI Patent
 4   Portfolio, tortiously interfering in Guardian's contractual relationships, and knowingly spreading
 5   false and defamatory statements about Guardian, Defendants have stifled competition within the
 6   Market, thereby obtaining control of a significant portion of the Market through unfair, anti-
 7   competitive, and monopolistic conduct.
 8             17.   This lawsuit seeks to restore competition to the affected market and to compensate
 9   Guardian for the injuries Defendants' unfair, anti-competitive, and monopolistic conduct has
10   caused.
11             18.   In particular, Guardian seeks compensation for its injuries resulting from
12   Defendants' pursuit of baseless enforcement of the fraudulently-obtained MMI Patent Portfolio and
13   for other economic and non-economic damages Guardian has suffered due to Defendants' anti-
14   competitive behavior.
15             A.    The Public Safety Background Investigation Management Software Industry
                     and the Relevant Market
16

17             19.   Nearly 19,000 law enforcement agencies in the U.S. (at the local, state, and federal
18   levels) perform over 1.7 million pre-employment background investigations annually.
19             20.   Public safety organizations perform pre-employment background investigations by
20   trained, professional background investigators. They are not the same as, nor should they be
21   confused with, basic background checks that can be readily ordered online for employment or rental
22   purposes, for example.
23             21.   A complete public safety pre-employment background investigation consists of an
24   extensive array of applicant information as required by the Police Officer Standards and Training
25   (POST) or POST-equivalent authority in every jurisdiction in the United States.
26             22.   Over 98% of law enforcement agencies still collect, manage and store background
27   investigation information in hard copy.
28   ///

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 1           23.      Completed hard copy public-safety background investigations generally consist of
 2   200–300 pages of paper documents. They include up to 17 different "tabs" or sections, each with a
 3   different focus or purpose within the comprehensive background investigation.
 4           24.      Collecting, collating, evaluating, and storing background information in hard copy
 5   results in numerous wasted resources, including the costs of maintaining storage space for paper
 6   records (typically held in 3–4" three-ring binders) that must be physically stored for years in most
 7   instances. Unlike electronic records, paper documents don't provide any ability to gain insight into
 8   who is seeking employment (either within the agency itself or cross-agency), and the paper
 9   documents cannot be readily shared within or outside the agency performing the background
10   investigation.
11           25.      As an example, the tabs in a public safety background investigation in California
12   include: (a) a Background Narrative Report; (b) a Personal History Statement (20-plus pages, over
13   200 data points); (c) DOJ/FBI Fingerprint Returns and Firearms Clearance; (d) Driving Record
14   Check; (e) Local Law Enforcement Agency Record Checks; (f) Credit Record Checks; (g)
15   Education Verification; (h) Citizenship/Age Verification; (i) Military History Check; (j)
16   Dissolution of Marriage Check; (k) Employment History Checks; (l) Relatives/Personal Reference
17   Checks; (m) Neighborhood Checks; (n) Medical/Psychological Clearances; and (o) Other
18   Documentation.
19           26.      By using specialized public safety background investigation management software,
20   agencies can complete pre-employment background investigations faster and more accurately—
21   thereby facilitating more efficient, high-quality hiring decisions.
22           27.      While the public safety background management software assists agencies in
23   expediting the completion of public safety background investigations, the anatomy of such
24   investigations must remain intact as prescribed by the POST or POST-equivalent authority. The
25   public safety background management software streamlines the performance of a prescribed, well-
26   understood process.
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 1           28.     MMI, and its competitors like Guardian, offer public safety background
 2   investigation management software to customers nationwide in the United States. As a result, the
 3   scope of the relevant geographic market for this Complaint is the entirety of the United States.
 4           29.     Despite systems that existed before MMI entered the Market, MMI was able to
 5   capture a dominant position quickly and is currently the dominant Market participant, controlling
 6   at least 70% of the total dollars expended annually by public safety agencies for public safety
 7   background investigation management software.
 8           30.     Until Guardian was formed and entered the Market in 2018, MMI's two main
 9   competitors in the Market were: (a) Essential Software Development, LLC, which has offered its
10   Police Officer Background Investigation Tracking System ("POBITS") software since no later than
11   2010; and (b) Background Solutions, LLC, which has offered its Background Assistant software
12   since no later than 2009.
13           31.     MMI obtained its dominant position in the Market through monopolistic activities,
14   including: (a) extensively advertising the existence of and aggressively threatening enforcement of
15   the MMI Patent Portfolio and (b) actively enforcing the MMI Patent Portfolio against MMI's own
16   prospective customers–i.e., bringing suit against law enforcement agencies that are or were existing
17   Guardian customers at the time of the lawsuits.
18           32.     Since Guardian entered the Market in 2018, MMI has increased its share of the
19   Market as a result of its litigation activities as well as its increasing threats of litigation against
20   public safety agencies who might use or consider using Guardian's software, including capturing
21   business from prospective law enforcement agencies who were already committed to purchasing
22   the Guardian system and, during the process of completing contracts or, in at least one instance,
23   had entered into a contract with Guardian, walked away from or terminated their agreement with
24   Guardian after being threatened by MMI.
25           B.      Defendants'   Fraudulently      Obtained      Patent     Portfolio                 and
                     Their Anti-Competitive Conduct in Enforcing Such Patents
26

27           33.     Over the past decade, MMI fraudulently obtained two patents from the United
28   States Patent & Trademark Office ("USPTO," the federal agency charged with examining and

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 1   issuing patents where warranted), United States Patent Nos. 9,070,098 (“the ’098 Patent”) and
 2   10,043,188 (“the ’188 Patent”). MMI is continuing its fraud while applying for two additional
 3   patents, i.e., United States Patent Application Nos. 16/024,622 ("the ’622 Application") and
 4   17/316,686 ("the ’686 Application") (collectively, with the ’098 and ’188 Patents, "the MMI Patent
 5   Portfolio"). True and correct copies of the ’098 and ’188 Patents are attached hereto as Exhibits 1
 6   and 2, respectively.
 7           34.     As detailed below, Defendants deliberately and purposefully withheld material
 8   information (i.e., the fraud committed on the USPTO)—with such withheld material comprising:
 9   (a) its own offer to sell its invention more than a year before filing for its first patent application;
10   and (b) information about third-party prior art systems of which Defendants were aware. Despite a
11   duty to disclose this prior art information, Defendants purposefully and deliberately withheld this
12   prior art information from the USPTO to keep this prior art information from the USPTO, as it was
13   material to patentability, and the USPTO would have rejected Defendants' patent applications as
14   unpatentable had the agency been aware of the existence of the prior art information. Moreover,
15   Defendants made numerous false statements to the USPTO, the falsity of which was material to the
16   patentability of their various patent applications. In light of these false statements, the USPTO
17   found the Defendants' applications patentable and allowed them to issue. Pointedly, not only were
18   Defendants' statements false, Defendants knew that the statements were false when they were made.
19           35.     Finally, Defendants' fraud on the USPTO is ongoing. To date, the Defendants have
20   not disclosed the prior art information to the USPTO in its pending patent application, and the
21   Defendants continue to make knowingly false statements in their attempts to persuade the USPTO
22   to allow its pending applications to issue as patents.
23           36.     Defendants' false representations and omissions of material facts and prior art were
24   intended by Defendants to induce and did induce reliance by the patent examiners (i.e., the
25   individuals charged within the USPTO in determining whether to grant Defendants' patent claims)
26   into allowing the patent applications to issue. But for Defendants' false representations and knowing
27   omissions of material facts and prior art, the patents within the MMI Patent Portfolio would not
28   have been issued.

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 1           37.     Defendants' false representations and knowing omissions of material facts and prior
 2   art constitute inequitable conduct, otherwise known as "fraud on the USPTO," thereby rendering
 3   each of the claims of the issued patents within the MMI Patent Portfolio invalid and unenforceable.
 4           38.     After fraudulently obtaining the patents within the MMI Patent Portfolio from the
 5   USPTO, Defendants advertised the existence of the MMI Patent Portfolio, threatened to enforce,
 6   and, after that, actually enforced one of the fraudulently-obtained patents within the MMI Patent
 7   Portfolio against users of Guardian's public agency background investigation management
 8   software—i.e., Defendants are currently enforcing the fraudulently-obtained patents against
 9   potential MMI customers that chose Guardian's software instead of MMI's. Notably, MMI did not
10   directly litigate its fraudulently-obtained patents within the MMI Patent Portfolio against
11   Guardian—choosing instead to sue its potential customers, i.e., public law enforcement agencies
12   generally unfamiliar with patent litigation and risk-averse due to public oversight. By doing so,
13   Defendants could obtain, maintain, or, at a minimum, pose a dangerous probability of obtaining a
14   monopoly in the Market through the enforcement (and threatened enforcement) of fraudulently-
15   obtained patent claims in the MMI Patent Portfolio.
16           39.     The MMI Patent Portfolio provides a critical competitive strength to Defendants,
17   albeit a strength obtained through fraud on the USPTO. The MMI Patent Portfolio allows
18   Defendants to erect artificial barriers to entry and pursue their expansion in the Market without
19   competition. For example, "sole-source" justification exists when a vendor offers services or goods
20   to a public safety agency purportedly covered by one or more patents. The vendor is considered the
21   "sole-source" of the goods or services. The fraudulently-obtained MMI Patent Portfolio allows
22   Defendants' services to be classified as sole-source, thereby allowing Defendants to circumvent a
23   public safety agency's request for proposal ("RFP") process. This circumvention is contrary to the
24   public policy favoring competitive bidding for goods and services. The barrier created by
25   Defendants' use of the fraudulently-obtained MMI Patent Portfolio to achieve sole-source status
26   prevents (and has prevented) Guardian, as well as other competitors, from competitively offering
27   its goods and services to the public safety agency through participation in an agency's RFP process.
28   Defendants' monopolistic actions have prevented Guardian, and other competitors from being

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 1   awarded the contract by winning a public safety agency RFP. Defendants used their fraudulently-
 2   obtained MMI Patent Portfolio to deceive the agencies into granting it sole-source status to the
 3   detriment of the agency, the tax-payers supporting the agency, other competitive public agency
 4   background investigation management software vendors, and Guardian.
 5           40.     In furtherance of this scheme, Defendants initiated the Oklahoma, Oregon, Alaska,
 6   and Texas Actions. Defendants have threatened at least 100 of Guardian's existing and prospective
 7   customers with claims that they infringed claims of at least the ’188 Patent.
 8           41.     Defendants' objectively baseless lawsuits (i.e., those actions filed against
 9   Guardian's customers seeking enforcement of the MMI Patent Portfolio) have required Guardian to
10   expend significant time and financial resources honoring its contractual patent infringement
11   indemnification obligations to its customers that MMI has sued.
12           42.     Even after Guardian's customer—the City of Oklahoma City—articulated in
13   December 2020 the precise reasons for Defendants' fraud on the USPTO (i.e., Miller, MMI, and
14   their counsel's failure to disclose the prior art information), Defendants have continued in their anti-
15   competitive scheme of attempted monopolization by suing additional Guardian customers in
16   Oregon, Alaska, and Texas.
17           43.     Further, despite Guardian's customer—the City of Oklahoma City—making MMI,
18   Miller, and their counsel explicitly aware of (a) MMI's own prior sale, and (b) prior art software
19   systems, Defendants have continued their practice of committing fraud on the USPTO by failing to
20   disclose this prior art information in the ongoing prosecution of the pending patent applications in
21   the MMI Patent Portfolio. Such fraud is ongoing as of this filing despite the Defendants' ongoing
22   duty to disclose this prior art information under 37 C.F.R. § 1.56. It should not be overlooked,
23   Defendants' counsel, which has been made aware of this prior art information, has its own separate
24   ethical obligation and duty under 37 C.F.R. § 1.56 to disclose this prior art information to the
25   USPTO.
26           44.     MMI and Miller's threats of enforcement of the fraudulently-obtained MMI Patent
27   Portfolio against Guardian's customers continued even after the Court in the Texas Action
28   invalidated the asserted claims of the ’188 Patent under 35 U.S.C. § 101—insisting to Guardian's

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 1   actual and prospective customers that all claims of the ’188 Patent remained in full force and effect.
 2   MMI and Miller's actions went so far as issuing a press release with the headline: "Miller Mendel's
 3   eSOPH Patent Remains in Full Effect After Judge's Decision." This statement is misleading, and a
 4   false, anti-competitive, and monopolistic misstatement meant to deceive the market into avoiding
 5   contracting with Guardian.
 6           45.     Defendants' persistent and costly assertion of the fraudulently-obtained patents
 7   within the MMI Patent Portfolio against Guardian and its customers, in light of the circumstances
 8   by which those patents were obtained and how they were enforced, is a crucial part of the pattern
 9   of unfair, anti-competitive, and monopolistic conduct perpetrated by Defendants.
10           46.     Defendants should be held responsible for their misconduct in obtaining patents
11   fraudulently, for subjecting Guardian to the unnecessary expense of multiple, protracted patent
12   litigations, and for MMI's use of its patent portfolio to reap anti-competitive benefits in the
13   marketplace.
14           47.     Defendants' anti-competitive conduct has harmed competition in the public safety
15   background investigation software market by, among other things, affecting prices and reducing
16   competition, quality, innovation, and consumer choice.
17           C.      Defendants' Actions Constituting Inequitable Conduct and Fraud on the
                     United States Patent and Trademark Office
18

19           48.     In early 2011, MMI purportedly developed and began marketing a public safety
20   background investigation management software under the trademark "eSOPH."
21           49.     On April 6, 2011, MMI filed a provisional patent application entitled "Background
22   Investigation Web Services," U.S. Patent Application No. 61/472,556.
23           50.     Throughout 2011, MMI marketed the eSOPH software to public agencies,
24   procuring its first contract with the King County (WA) Sheriff's Department in December 2011.
25           51.     On information and belief, based on publicly-available materials obtained through
26   the Oklahoma Action and open records requests, while Defendants were engaged in marketing their
27   product to the King County (WA) Sheriff's Department in 2011, Miller became aware of and/or
28   obtained access to the public safety background investigation management software used by King

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 1   County before its use of eSOPH—i.e., King County used Background Solutions, LLC's software
 2   marketed under the trademark "Background Assistant™."
 3           52.     Through awareness of and/or access to the software, Miller became aware of the
 4   various features and functionalities of the Background Assistant™ software, namely, Background
 5   Assistant's™ ability to auto-generate a list of and correspondence to law enforcement agencies
 6   based on the residential address of an applicant.
 7           53.     On April 6, 2012, Miller filed a non-provisional U.S. Patent Application No.
 8   13/441,648, which was intended to convert the ’556 Provisional Application into a Non-Provisional
 9   Utility Application for review by the USPTO. Following the filing of the ’648 Application and
10   before issuance, Defendants and their counsel had a continuing duty under 37 C.F.R. § 1.56 to
11   disclose material, noncumulative prior art information of which they were aware to the USPTO for
12   consideration in allowing the patent application.
13           54.     The ’648 Application was allowed by the USPTO on April 7, 2015. At all times
14   after the allowance of the ’648 Application and before issuance, Defendants and their counsel had
15   a continuing duty under 37 C.F.R. § 1.56 to disclose material, noncumulative prior art information
16   of which they were aware to the USPTO for consideration in issuing the patent application.
17           55.     On June 30, 2015, the ’648 Application was issued as the ’098 Patent. Despite their
18   duty under 37 C.F.R. § 1.56, at no time following the filing of the ’648 Application did Defendants
19   or their counsel disclose the existence and/or functionalities of the Background Assistant™ prior
20   art software to the USPTO for consideration as to the appropriateness of issuing the ’098 Patent.
21           56.     On May 26, 2015, Miller filed a continuation, non-provisional U.S. Patent
22   Application. No. 14/721,707, claiming priority to the ’098 Patent. Following the filing of the ’707
23   Application and prior to issuance, Defendants and their counsel had a continuing duty under 37
24   C.F.R. § 1.56 to disclose material, noncumulative prior art information they were aware of to the
25   USPTO for consideration in allowing the patent application.
26           57.     The ’707 Application was allowed by the USPTO on June 22, 2018. At all times
27   after the allowance of the ’707 Application and before issuance, Defendants and their counsel had
28   ///

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 1   a continuing duty under 37 C.F.R. § 1.56 to disclose material, noncumulative prior art information
 2   of which they were aware to the USPTO for consideration in issuing the patent application.
 3           58.        On August 7, 2018, the ’707 Application was issued as the ’188 Patent. Despite
 4   their duty under 37 C.F.R. § 1.56, at no time following the filing of the ’707 Application did
 5   Defendants or their counsel disclose the existence and/or functionalities of the Background
 6   Assistant™ prior art software to the USPTO for consideration as to the appropriateness of issuing
 7   the ’188 Patent.
 8           59.        The ’098 and ’188 Patents are unenforceable because inventor Miller, assignee
 9   MMI, and their patent attorneys, Philip Hunt of Rylander & Associates, PC, failed to disclose all
10   noncumulative material prior art of which they were aware to the U.S. Patent and Trademark Office
11   during prosecution of the ’098 and ’188 Patents.
12           60.        Specifically, at no time during the prosecution of the ’098 and ’188 Patents did
13   Miller or his counsel file an information disclosure statement with the USPTO (despite their
14   continuing duty of disclosure under 37 C.F.R. § 1.56 to do so), let alone particularly disclose the
15   existence and capabilities of the Background Assistant™ prior art software.
16           61.        Miller, MMI, and Mr. Hunt violated their continuing duty of disclosure under 37
17   C.F.R. § 1.56 when they failed to disclose the existence and capabilities of the Background
18   Assistant™ prior art software during the prosecution of the ’098 and ’188 Patents.
19           62.        On information and belief, and indeed, before August 7, 2018 (when the ’188 Patent
20   was issued) and perhaps even before the ’648 Application was filed on April 6, 2012), Miller was
21   aware of the Background Assistant™ prior art software and its functions and capabilities.
22           63.        The Background Assistant™ prior art software, which was publicly available
23   before the earliest possible priority date of the ’188 Patent and of which Miller and Hunt were aware
24   during prosecution of the ’188 Patent, discloses automatically generating a list of law enforcement
25   agencies within a certain radius based on residential address information in the application. This
26   capability or functionality of the Background Assistant™ prior art software was publicly disclosed
27   in presentations as follows:
28   ///

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16           64.     On December 9, 2014, during the prosecution of the ’098 Patent, Messrs. Miller

17   and Hunt further amended claims 1, 5, and 9 of the pending ’649 Application (which was issued as

18   the ’098 Patent) to include the limitation "generating a suggested reference list of one or more law

19   enforcement agencies and/or courts within a pre-defined radius around the applicant residential

20   address; and presenting the suggested reference list to the investigator." December 9, 2014

21   Amendment and Response to Office Action in ’098 Prosecution, a true and correct copy of which

22   is attached hereto as Exhibit 3.

23           65.     Messrs. Miller and Hunt argued in favor of allowing the claims in the ’648

24   Application, stating that "Parikh teaches e-dossiers that may have candidate referral information,

25   but Parikh is silent on how information is obtained and entered into the e-dossier." Id.

26           66.     Messrs. Miller and Hunt made these representations to the USPTO despite Miller's

27   knowledge of the existence and capabilities of the Background Assistant™ prior art software at

28   least as early as August 9, 2012. Further, Messrs. Miller and Hunt made these representations to the

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 1   USPTO despite Miller's knowledge that the Background Assistant™ prior art software had been
 2   used by the King County (WA) Sheriff's Department for several years. See August 9, 2012, email
 3   thread between Miller and Detective Robert Burrows of the King County (WA) Sheriff's Office
 4   Background Investigation Unit, a true and correct copy of which is attached hereto as Exhibit 4.
 5           67.     Additionally, Miller was aware no later than February 28, 2014, of the existence of
 6   and features of the Background Assistant™ prior art software, specifically that the Background
 7   Assistant™ prior art software compiled a list of law enforcement agencies and auto-generated
 8   correspondence letters in the background investigation process based on the residential address of
 9   the applicant. Miller's awareness of these features of the Background Assistant™ came no later than
10   approximately nine months before Miller amended the independent claims of the ’098 Patent to
11   include the element of "generating a suggested reference list of one or more law enforcement
12   agencies and/or courts within a pre-defined radius around the applicant residential address; and
13   presenting the suggested reference list to the investigator." See February 28, 2014, email thread
14   between Miller; Alexandra Ehlert, Human Resources Associate for the King County (WA) Sheriff's
15   Office; and Mark Sawa of the Travis County (TX) Sheriff's Department, a true and correct copy of
16   which is attached hereto as Exhibit 5.
17           68.     Similarly, during the prosecution of the ’707 Application (that was issued as the
18   ’188 Patent), Miller and his patent attorney Philip Hunt amended claims 1, 5, and 9 to add the
19   limitation, "generating a suggested reference list of one or more law enforcement agencies based
20   on the applicant's residential address," despite being aware for more than 3.5 years that the
21   Background Assistant™ prior art software compiled a list of law enforcement agencies and auto-
22   generated correspondence letters in the background investigation process based on the residential
23   address of the applicant. See October 23, 2017 Amendment and Response to Office Action, a true
24   and correct copy of which is attached hereto as Exhibit 6.
25           69.     Miller and Mr. Hunt argued in the October 23, 2017, Amendment and Response to
26   Office Action that the limitation they added—
27                   [I]s a slightly broader version of a limitation in claims 1, 5 and 9 of
                     the parent application, now issued as US9070098. Claims 1, 5 and
28                   9 of the instant application after this amendment are now very

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 1                    similar to claims 1, 5 and 9 of the ’098 patent. The same reasoning
                      the Applicant advanced in the prosecution of the ’098 patent applies
 2                    here as well. Parikh teaches e-dossiers that may have candidate
                      referral information, but Parikh is silent on how information is
 3                    obtained and entered into the e-dossier. The other art of record does
                      not supply this deficiency of Parikh. For at least these reasons, the
 4                    Applicant believes these claims are patentable.
 5   Id.

 6            70.     On December 26, 2017, the USPTO issued an office action, during the prosecution

 7   of the ’707 Application, rejecting Claims 1–3, 5–7, 9, 13–14, and 16 of the ’188 Patent under pre-

 8   AIA 35 U.S.C. § 103(a), in part because:

 9                    Duffy teaches generating a suggested reference list of one of more
                      law enforcement agencies based on an applicant residential address
10                    (¶0105; note that Duffy is not directed to law agencies. However,
                      this is (sic) would be obvious to use generating a list to one of
11                    ordinary skill in the art with the above references that deals with law
                      enforcement).
12

13   See December 26, 2017 Office Action, a true and correct copy of which is attached hereto as Exhibit
14   7.
15            71.     In response to the USPTO's December 26, 2017, rejection of the claims of the ’707
16   Application under pre-AIA 35 U.S.C. § 103(a), Miller and Mr. Hunt argued:
17                    Regarding rejection of claim 1 as obvious, OA pages 16-17 states
                      "Duffy teaches generating a suggested reference list of one of more
18                    law enforcement agencies based on an applicant residential
                      address." Examiner acknowledges that Duffy is "not directed at law
19                    enforcement agencies. Applicant points out that Duffy is not only
                      not directed at employment background checks for law enforcement
20                    agencies. It is also not directed at any type of background
                      investigations for any type of employer. It is directed at product
21                    recalls, a completely unrelated field and one that is not reasonably
                      pertinent to the field of background investigations.
22

23   See March 7, 2018 Applicant Initiated Interview Summary, a true and correct copy of which is
24   attached hereto as Exhibit 8.
25            72.     On June 22, 2018, in response to the remarks made by Miller and Mr. Hunt, the
26   USPTO issued a Notice of Allowance for the ’707 Application, stating as the reason for allowance
27   that the—
28   ///

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 1                   Prior art does not teach " ... investigator ... associating the reference
                     electronic response with the new application entry and ... generating
 2                   a suggested reference list of one more law enforcement agencies
                     based on an applicant residential address" of Claim 1. Note that
 3                   Claims 5, 9 and 16 are substantially similar to Claim 1, thus the same
                     rationale applies with respect to prior art and allowance.
 4

 5                   The closest prior art are Parikh et al. US 2012/0089528A1, LaPasta
                     et al. US 2005/0033633A1, Ritzel US 6904407 B2 and Duffy et al.
 6                   US 2009/0319331 A 1.

 7                   However, prior art still fail (sic) to teach " ... investigator ...
                     associating the reference electronic response with the new
 8                   application entry and ... generating a suggested reference list of one
                     more law enforcement agencies based on an applicant residential
 9                   address" of Claim 1. Note that Claims 5, 9 and 16 are substantially
                     similar to Claim 1, thus the same rationale applies with respect to
10                   prior art and allowance.
11
                     In addition, Applicant's arguments filed 4/26/2018 have been
12                   considered and found persuasive.

13   See June 22, 2018 Notice of Allowance, a true and correct copy of which is attached hereto as
14   Exhibit 9.
15           73.     The Background Assistant™ prior art software is therefore material to the
16   patentability of the ’098 and ’188 Patents, particularly as to the limitation of "generating a suggested
17   reference list of one or more law enforcement agencies based on the applicant residential address."
18   The patent examiner would not have allowed the claims of the ’098 and ’188 Patents to issue in
19   their present form had Miller and/or Mr. Hunt disclosed the Background Assistant™ prior art
20   software to the USPTO, as they were required to do under 37 C.F.R. § 1.56. In particular, the
21   USPTO would not have issued the claims of the ’098 and ’188 Patent in their present form if the
22   Background Assistant™ prior art software had been disclosed, as it provides the teaching that the
23   examiner believed was absent from the prior art known to and relied upon by the examiner. Despite
24   knowing differently, Messrs. Miller and Hunt affirmatively stated that the prior art did not contain
25   any reference to a step of "generating a suggested reference list of one or more law enforcement
26   agencies based on the applicant residential address." The Background Assistant™ prior art software
27   clearly and unambiguously disclosed the step of "generating a suggested reference list of one or
28   more law enforcement agencies based on the applicant residential address."

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 1           74.     Thus, "but for" Messrs. Miller and Hunt violating their duty of candor and good
 2   faith in dealing with the USPTO by failing to disclose the existence and capabilities of the
 3   Background Assistant™ prior art software, the ’098 and ’188 Patents would not have been allowed
 4   by the examiner and issued by the USPTO.
 5           75.     Based on Miller's prior awareness of the Background Assistant™ prior art software,
 6   and particularly his familiarity with its capabilities and features, on information and belief, the
 7   failure of inventor Miller and his patent attorney Philip Hunt, to disclose the Background
 8   Assistant™ prior art software to the USPTO was done with intent to deceive the examiner into
 9   allowing the ’098 and ’188 Patents eventually issued by the USPTO.
10           76.     The Background Assistant™ prior art software that Miller and his patent attorneys
11   withheld from the USPTO during the prosecution of the ’098 and ’188 Patents was material because
12   every claim required the step of "generating a suggested reference list of one or more law
13   enforcement agencies based on the applicant residential address." None of these claims would have
14   been allowed or eventually issued had the examiner and/or the USPTO been aware of the
15   Background Assistant™ prior art software.
16           77.     Through his agents and patent attorneys, Miller made the deliberate decision not to
17   disclose the Background Assistant™ prior art software to the examiner and the USPTO because
18   such disclosure would have rendered all of the claims of the ’098 and ’188 Patents unpatentable.
19   I.e., the examiner would not have allowed any of the claims of the ’098 and ’188 Patents if they
20   had been aware of the Background Assistant™ prior art software.
21           78.     In light of the preceding, the decision of Miller and his prosecution counsel to
22   withhold evidence of Background Assistant™ prior art software during Miller's prosecution of the
23   ’098 and ’188 Patents constitutes a failure of Miller and his counsel's duty of candor under 37
24   C.F.R. § 1.56. As such, Miller, MMI as assignee, and their patent counsel committed fraud on the
25   USPTO, rendering the claims of the ’098 and ’188 Patents unenforceable.
26   ///
27   ///
28   ///

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 1            D.      The Patent-Ineligible Subject Matter of the MMI Patent Portfolio Under 35
                      U.S.C. § 101
 2

 3            79.     The ’098 and ’188 Patents, entitled "Background Investigation Management

 4   Service," were issued on June 30, 2015, and August 7, 2018, respectively.

 5            80.     The specifications of the ’098 and ’188 Patents are identical, explaining that their

 6   "subject matter relates to a system to facilitate the process of performing background applications

 7   on a plurality of applicants."

 8            81.     In the "Background Information" section of the ’098 and ’188 Patents, the

 9   specification notes that:

10                    In many areas, but particularly in the area of law-enforcement pre-
                      employment background investigations, investigators report they
11                    spend, on average, 40 hours per applicant investigation. During this
                      process, the applicant typically completes a paper packet comprised
12                    of questions pertaining to the applicant's life history, including
                      information on criminal activity, financial history, drug history,
13                    listing relatives and personal references, employment history, and
                      many other in-depth personal questions … The investigator
14                    typically uses resources available to him or her to confirm the
                      information the applicant provided in the various documents, to
15                    include, contacting past employers, supervisors, neighbors,
                      relatives, references, landlords, etc., which makes up the bulk of the
16                    investigator's 40 hours per applicant of spent time.
17                    What has eluded the industry is an automated system to help a
                      background investigator more efficiently and effectively conduct a
18                    background investigation.
19   (Emphasis added).
20            82.     Describing the embodiment represented in FIG. 1 of the ’098 and ’188 Patents, the
21   specification states that:
22                    … software system 100 allows an organization 102 the ability to
                      create and customize electronic documents 104 to be sent to
23                    applicants to complete via the software system 100, and returned to
                      the software system 100 in similar fashion. The software system 100
24                    includes a document creation component 114 and a document
                      management component 116. The system 100 automates the
25                    majority of the tasks of a common pre-employment background
                      investigation so that fewer hardcopy documents are necessary, thus
26                    creating more efficient management of individual background
                      investigations.
27

28   (Emphasis added)

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17            83.    Representative claim 1 of the ’098 Patent and representative claim 1 of the ’188
18   Patent state:
19            Claim 1 of the ’098 Patent:

20                   1.      A method for a computing device with a processor and a
                     system memory to assist an investigator in conducting a background
21                   investigation of an applicant for a position within a first
                     organization, comprising the steps of:
22
                     receiving program data identifying the applicant, the position, the
23                   first organization, and the investigator;

24                   storing a new applicant entry in the system memory, the new
                     applicant entry associated with the program data identifying the
25                   applicant, the position, the first organization, and the investigator;

26                   transmitting an applicant hyperlink to an applicant email address
                     associated with the applicant, the applicant hyperlink for viewing an
27                   applicant set of electronic documents;

28                   receiving an applicant electronic response with program data
                     regarding a first reference, wherein the first reference is a first
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 1                person likely to have information regarding the applicant, the
                  program data including a first reference email address associated
 2                with the first reference;
 3                determining a reference class of the first reference based on the
                  program data regarding the first reference;
 4
                  selecting a first reference set of electronic documents based on the
 5                reference class of the first reference; transmitting a first reference
                  hyperlink to the first reference email address, the first reference
 6                hyperlink for viewing the first reference set of electronic documents
                  associated with the position;
 7
                  receiving a first reference electronic response to the first reference
 8                set of electronic documents from the first reference;
 9                storing the first reference electronic response in the system memory,
                  associating the first reference electronic response with the new
10                applicant entry; and
11                obtaining an applicant residential address from the applicant
                  electronic response;
12
                  generating a suggested reference list of one or more law
13                enforcement agencies and/or courts within a pre-defined radius
                  around the applicant residential address; and
14
                  presenting the suggested reference list to the investigator.
15

16         Claim 1 of the ’188 Patent:
17

18                1.      A method for a computing device with a processor and a
                  system memory to assist an investigator in conducting a background
19                investigation of an applicant for a position within a first
                  organization, comprising the steps of:
20
                  receiving a first set of program data comprising information
21                identifying the applicant, the position, the first organization, and the
                  investigator;
22
                  storing a new applicant entry in the system memory, the new
23                applicant entry associated with the first set of program data;

24                transmitting an applicant hyperlink to an applicant email address
                  associated with the applicant, the applicant hyperlink for viewing an
25                applicant set of electronic documents;

26                receiving an applicant electronic response with a reference set of
                  program data, wherein the reference set of program data comprises
27                information regarding a reference source, wherein the reference
                  source is a person, the program data including a reference email
28                address associated with the reference source;


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 1                   determining a reference class of the reference source based on the
                     reference set of program data;
 2
                     selecting a reference set of electronic documents based on the
 3                   reference class of the reference source;
 4                   transmitting a reference hyperlink to the reference email address, the
                     reference hyperlink for viewing the reference set of electronic
 5                   documents;
 6                   receiving a reference electronic response to the reference set of
                     electronic documents from the reference source;
 7
                     storing the reference electronic response in the system memory,
 8                   associating the reference electronic response with the new applicant
                     entry; and
 9
                     generating a suggested reference list of one or more law
10                   enforcement agencies based on an applicant residential address.
11           84.     During the prosecution of the ’098 and ’188 Patents, the examiner rejected the

12   proposed claims of both patents as comprising unpatentable subject matter under 35 U.S.C. § 101.

13   [See, e.g., 3/10/2014 USPTO communication to Miller during prosecution of the ’098 Patent and

14   Proposed Agenda from 3/7/2018 Interview Summary during prosecution of the ’188 Patent, true

15   and correct copies of which are attached hereto as Exhibits 10 and 11, respectively].

16           85.     In the prosecution of the ’098 Patent, after Miller amended the claims rejected

17   under § 101 to include the phrase "non-transitory computer readable medium," the examiner

18   withdrew the § 101 rejection.

19           86.     In the prosecution of the ’188 Patent, after noting that the patent examiner found

20   that the proposed claims fall under the abstract concept of "Fundamental Economic Practices,"

21   Miller's patent lawyer responded to the § 101 rejection by stating that the proposed claims were

22   "significantly more" than an abstract concept. [4/26/2018 Communication, Prosecution History of

23   the ’188 Patent, pp. 10–12 attached hereto as Exhibit 12]

24           87.     Miller's patent attorney further argued that the patent examiner had wrongly found

25   the claims to be an abstract concept because the examiner had failed to expressly support the

26   necessary underlying factual determinations to reach such a conclusion, as required by Patent Office

27   guidelines then in effect for a § 101 rejection, which required: "(1) a citation to an express statement

28   by applicant; (2) a court decision finding similar claim language ineligible; (3) a publication that

                                                        22
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 1   demonstrates the well-understood, routine, conventional nature of the additional element(s); or (4)
 2   a "statement that the examiner is taking official notice of the well-understood, routine, conventional
 3   nature of the additional element(s)." [Id. at p. 11].
 4            88.      In particular, Miller's patent lawyer asserted that to the best of Miller's knowledge,
 5   the examiner had not and "will not be able to supply one of the four items above for specifically
 6   one element of claim 1: 'generating a suggested reference list of one or more law enforcement
 7   agencies based on an applicant residential address.'" [Id.]
 8            89.      In response to Miller's argument, the patent examiner tacitly withdrew the § 101
 9   statutory subject matter rejection and allowed the claims. [6/22/2018 Notice of Allowability,
10   Prosecution History of the ’188 Patent, pp. 1-4, a true and correct copy of which is attached hereto
11   as Exhibit 13].
12            90.      Contrary to Miller's arguments throughout the prosecution of the MMI Patent
13   Portfolio, the claims of the ’098 and ’188 Patents, as well as the pending claims in the ’622
14   Application and the ’686 Application, are all directed to non-statutory subject matter under 35
15   U.S.C. § 101.
16            91.      Concerning the ’188 Patent, Judge Gilstrap in the U.S. District Court for the Eastern
17   District of Texas recently held the asserted claims invalid under 35 U.S.C. § 101, stating:
18                     [T]he Court finds that the ’188 Patent and its claims do not purport
                       to solve any technical problem associated with prior art products or
19                     methods. Instead, the ’188 Patent provides a "system for managing
                       the process of performing pre-employment background
20                     investigations" to "save organizations time and other costly
                       resources." (’188 Patent at 3:67–4:40.) Put another way, the "subject
21                     matter turns much of a common pre-employment background
                       investigation electronic, so that fewer hardcopy documents are
22                     necessary, thus creating more efficient management of individual
                       background investigations." (Id. at Abstract.) The Court finds such
23                     to be an abstract idea directed toward automation of basic
                       information gathering and organization.
24
                       ***
25
                       The Court is not persuaded by Miller Mendel's argument that the
26                     concept of "generating a suggested reference list of one or more law
                       enforcement agencies based on an applicant residential address" is
27                     an "additional element" that renders the claims of the ’188 Patent
                       non-abstract … Although the ’188 Patent mentions, inter alia,
28                     computers, servers, mobile phones, and personal headset devices,

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 1                   the claims and specification lack any disclosure or limitation that
                     indicates a technical improvement of any such components.
 2
                     ***
 3
                     Miller Mendel's focus on novelty and non-obviousness is misplaced.
 4                   As noted earlier, Miller Mendel once again conflates the analysis of
                     whether the ’188 Patent is directed to eligible subject matter under
 5                   § 101 with whether it meets §§ 102 and 103's novelty requirements.
 6                   ***
 7                   Miller Mendel's purported improvement over the prior art is "the
                     alleged efficiency of the method through computerization," which is
 8                   not enough to confer patent eligibility … The computer and internet
                     technologies described in the ’188 Patent are generic, and requiring
 9                   the use of generic computer technology does not create an inventive
                     concept.
10
                     ***
11
                     The ’188 Patent claims the well-known process of performing a
12                   background check. While the patent inarguably "turns much of a
                     common pre-employment background investigation electronic,"
13                   such is not enough to make the abstract idea patent eligible. At the
                     end of the day, it remains a "common pre-employment background
14                   investigation," which is not eligible for patent protection.
15   See Judge Gilstrap's April 14, 2014 Order in the Texas Action, at pp. 12–13 and 17–20, a true and
16   correct copy of which is attached hereto as Exhibit 14.
17           92.     After MMI requested Judge Gilstrap to reconsider his Order, on June 9, 2022, Judge
18   Gilstrap confirmed his prior Order finding the asserted claims of the ’188 Patent invalid under 35
19   U.S.C. § 101, stating:
20                   Importantly, Miller Mendel failed to cite or discuss in this Motion
                     the standard for reconsideration or perform any analysis of the 12(c)
21                   Order under the factors relevant to a Rule 59(e) motion … Instead,
                     Miller Mendel repackages its previously presented arguments in an
22                   effort to show that the 12(c) Order was not based in fact. Miller
                     Mendel certainly has not presented any new evidence or intervening
23                   change in case law that casts doubt on the Court's decision to grant
                     the 12(c) Motion, nor has Miller Mendel identified any error or
24                   injustice in the 12(c) Order.
25                   ***
26                   As the Court stated in the 12(c) Order, the ’188 Patent itself
                     describes a "system for managing the process of performing pre-
27                   employment background investigations" to "save organizations time
                     and other costly resources." (Dkt. No. 41 at 12 (citing ’188 Patent at
28                   3:67–4:40).) The ’188 Patent explicitly states that the "subject
                     matter turns much of a common pre-employment background
                                                      24
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 1                   investigation electronic, so that fewer hardcopy documents are
                     necessary, thus creating more efficient management of individual
 2                   background investigations." (’188 Patent at Abstract.)
 3                   ***
 4                   The Court did not rely on evidence outside of the ’188 Patent to find
                     that it was directed to an abstract idea because the language intrinsic
 5                   to the ’188 Patent itself demands such a conclusion. As the Federal
                     Circuit has recently held, "the automation of [a] conventional human
 6                   process to make it more efficient is itself an abstract idea."
 7                   ***
 8                   Miller Mendel's Motion further compels the conclusion that the
                     claimed process can be done with pen, paper, and the human mind,
 9                   and even explicitly outlines how a background investigator would
                     have performed such a process based on the language in the ’188
10                   Patent. (See, e.g., Dkt. No. 47 at 11 (stating that the process can be
                     performed by "purchasing maps for every city and state in the
11                   country and forcing a human background investigator to spend tens
                     if not hundreds of hours poring over such maps with a magnifying
12                   glass in the forlorn hope of accurately
13                   locating all the relevant law enforcement agencies.”).) Indeed, the
                     details presented by Miller Mendel regarding how a background
14                   investigator would practice the claims without the aid of even a
                     generic computer prove the Court's conclusion from the 12(c) Order
15                   and demonstrate that, while a "pen and paper version of the claimed
                     method would not be particularly efficient, [] it could be completed."
16

17   See Judge Gilstrap's June 9, 2022 Order on MMI's Motion for Reconsideration, at. pp. 9–11, a true
18   and correct copy of which is attached hereto as Exhibit 15.
19           93.      Concerning the ’686 Application, on June 22, 2022, the USPTO rejected all
20   pending claims of that application under, inter alia, 35 U.S.C. § 101, citing Judge Gilstrap's Order
21   invalidating claims 1, 5, and 15 of the ’188 Patent. It must be noted that there is no record of
22   Defendants bringing Judge Gilstrap’s Order to the examiner's attention (despite the ethical
23   obligation to do so under 37 C.F.R. § 1.56). Instead, the examiner became aware of Judge Gilstrap’s
24   Order on their own. A true and correct copy of the USPTO's June 22, 2022 Office Action is attached
25   hereto as Exhibit 16.
26           94.     Concerning the ’622 Application, on July 14, 2022, the Patent Trial and Appeal
27   Board finally rejected all claims of that application under, inter alia, 35 U.S.C. § 101. A true and
28   ///

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 1   correct copy of the Patent Trial and Appeal Board's July 14, 2022 Decision on Appeal is attached
 2   hereto as Exhibit 17.
 3           E.      Defendants' Patent Infringement Suits and Other Unlawful Attempts to
                     Enforce the MMI Patent Portfolio Against Guardian Customers
 4

 5           95.     Defendants first accused Guardian of patent infringement in October 2017,
 6   asserting that Guardian's public safety background investigation management software (the
 7   "Guardian Platform") infringed the ’098 Patent. A true and correct copy of the Defendants' October
 8   10, 2017, letter to Guardian is attached hereto as Exhibit 18.
 9           96.     As a result of the Defendants' threats, Guardian retained intellectual property
10   counsel to render an opinion as to the validity of the ’098 Patent. A true and correct copy of that
11   opinion and its appendices are attached collectively hereto as Exhibit 19.
12           97.     On March 23, 2018, Guardian's counsel sent Defendants' counsel a response
13   communication, stating, amongst other things, that:
14                   With respect to the 098 patent, patent law subject matter decisions
                     after the U. S. Supreme Court ruling in Alice Corp. Pty. Ltd. v. CLS
15                   Bank International, 134 S. Ct. 2347, at 2354 (2014) as to the
                     patentability of business methods and certain software based
16                   products invoke a more rigorous standard than was applied to the
                     098 patent by the U. S. Patent Office during its examination. In fact,
17                   those standards are currently part of the Patent Office's Manual of
                     Patent Examining Procedures ("MPEP") 2106. Under the Alice
18                   ruling, a full slate of U. S. District Court and Federal Circuit cases
                     following Alice, and/or MPEP 2106, the validity of all claims of the
19                   098 patent are suspect under 35 U.S.C.§101. Please consider this as
                     Guardian's response to the Rylander letter.
20

21   A true and correct copy of the March 23, 2018, letter to the Defendants' counsel is attached hereto
22   as Exhibit 20. As such, as early as March 23, 2018, Defendants and their counsel were expressly
23   aware of and were on notice that the claims of the ’098 Patent were susceptible to challenge as
24   being directed to non-statutory subject matter under 35 U.S.C. § 101.
25           98.     Defendant's counsel responded in writing on March 30, 2018, a true and correct
26   copy of which is attached hereto as Exhibit 21    .
27           99.     Approximately six months later, on October 9, 2018, Defendants sued the City of
28   Oklahoma City, Case No. 5:18-cv-00990-JD, in the United States District Court for the Western

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 1   District of Oklahoma (the "Oklahoma Action"), for patent infringement based on the City of
 2   Oklahoma City's use of the Guardian Platform. Guardian was contractually obligated to defend and
 3   indemnify the City of Oklahoma City against MMI's patent infringement claims and has funded the
 4   entirety of the defense in the Oklahoma Action, which remains pending.
 5           100.    Approximately one year into the Oklahoma Action, Defendants attempted to sue
 6   Guardian for patent infringement in the Western District of Oklahoma. Still, the Oklahoma Court
 7   disallowed the claim as Guardian is neither incorporated in Oklahoma nor does it maintain a regular
 8   and established place of business there, as required by 28 U.S.C. § 1400(b) following the Supreme
 9   Court's decision in TC Heartland LLC v. Kraft Foods Group Brands LLC, 581 U.S. ____, 137 S.Ct.
10   1514, 197 L.Ed.2d 816 (2017). As such, the Oklahoma Court was not the proper venue to bring suit
11   against Guardian for patent infringement.
12           101.    On February 1, 2021, MMI sued Washington County, Oregon, and Washington
13   County (OR) Sheriff's Office, Case No. 3:21-cv-00168-SB, in the United States District Court for
14   the District of Oregon (the "Oregon Action"), for patent infringement based on the Sheriff's Office's
15   use of the Guardian Platform. As in the Oklahoma Action, Guardian was contractually obligated to
16   defend and indemnify Washington County, Oregon, against MMI's claims of patent infringement
17   and has funded the entirety of the defense in the Oregon Action, which remains pending. On April
18   2, 2021, the Oregon Court, upon a contested motion by Guardian, through its indemnitees
19   Washington County and the Sheriff's Office, stayed the proceedings in the Oregon Action pending
20   the outcome in the Oklahoma Action.
21           102.    On May 28, 2021, Defendants sued the Alaska State Troopers and James E.
22   Cockrell, Commissioner of the State of Alaska Department of Public Safety, Case No. 3:21-cv-
23   00129-HRH, in the United States District Court for the District of Alaska (the "Alaska Action"),
24   for patent infringement based on the Alaska State Troopers' use of the Guardian Platform. As in the
25   Oklahoma and Oregon Action, Guardian was contractually obligated to defend and indemnify the
26   Alaska State Troopers against MMI's patent infringement claims and has funded the entirety of the
27   defense in the Alaska Action, which remains pending. On August 19, 2021, the Alaska Court, upon
28   ///

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 1   a contested motion by Guardian, through its indemnitee, the Alaska State Troopers, stayed the
 2   proceedings in the Alaska Action pending the outcome in the Oklahoma Action.
 3              103.   On December 2, 2021, MMI sued the City of Anna, Texas, and the Anna (TX)
 4   Police Department, Case No. 2:21-cv-00445-JRG, in the United States District Court for the Eastern
 5   District of Texas (the "Texas Action"), for patent infringement based on the Anna Police
 6   Department's use of the Guardian Platform. As in the Oklahoma, Oregon, and Alaska Actions,
 7   Guardian was contractually obligated to defend and indemnify the City of Anna, Texas, against
 8   MMI's patent infringement claims and has funded the entirety of the defense in the Texas Action.
 9              104.   In place of seeking to stay the Texas Action, Guardian, through its indemnitee City
10   of Anna, Texas, shortly after answering the complaint, moved for judgment on the pleadings that
11   the ’188 Patent was invalid under 35 U.S.C. § 101. The district court granted the motion, denied
12   MMI's motion for reconsideration, and clarified that its order invalidating the claims under 35
13   U.S.C. § 101 "pertained only to claims 1, 5, and 15" of the ’188 Patent because "[t]he Court did not
14   analyze any other claim because the Court did not understand any other claim was asserted."
15              105.   In addition to the four lawsuits, MMI and/or Miller have filed against Guardian
16   customers, Defendants have threatened scores of Guardian's actual and prospective customers with
17   litigation, warning them that they will be sued for their actual or potential use of the Guardian
18   Platform. Miller and/or MMI's threats have resulted in millions of dollars of lost revenue to
19   Guardian.
20              106.   Since Defendants sued The City of Oklahoma City, Oklahoma, in October 2018
21   for alleged patent infringement based on its use of the Guardian Platform, Guardian is aware of
22   over ninety (90) agencies that Defendants have sued or threatened to sue for patent infringement
23   for their use or potential use of the Guardian platform.
24              107.   Guardian is also aware of seventeen (17) agencies that ceased using the Guardian
25   Platform, decided not to use the Guardian Platform, and/or elected to use the Miller Mendel eSOPH
26   public safety background investigation management software because of Defendants' threats of
27   protracted and expensive patent infringement litigation. The known agencies fitting this description
28   include:

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 1                       Anoka, Minnesota;
 2                       Bothell, Washington Police Department;
 3                       Bozeman, Montana Police Department;
 4                       Broken Arrow, Oklahoma Police Department;
 5                       Buckeye, Arizona;
 6                       CA Dept of Corrections;
 7                       Fort Worth, Texas Police Department;
 8                       Fresno, California Police Department;
 9                       Gilbert, Arizona Police Department;
10                       Hennepin County, Minnesota Sheriff's Office;
11                       Kern County, California Sheriff's Office;
12                       Maricopa County, Arizona Sheriff's Office;
13                       Minnesota State Highway Patrol;
14                       New Orleans, Louisiana Police Department;
15                       Orange County, California District Attorney's Office;
16                       Salem, Oregon Police Department; and
17                       University of Missouri Police Department.
18           108.    As a direct result of Defendants' threats, Guardian conservatively estimates it has
19   lost more than seven figures in recurring annual revenues due to MMI's threats to sue users or
20   potential users of the Guardian Platform.
21           109.    Despite the significant growth of Guardian's customer base from its first contact
22   with Defendants' counsel, Guardian has been unable to publicize its growth publicly or adequately
23   acknowledge the existence of its customers because of Guardian's fear of Defendants' potential
24   interference with Guardian's contractual relationships. Defendants' threats and interfering actions
25   continue to stifle Guardian's ability to grow its base of customers using the Guardian Platform. The
26   Defendants' actual and prospective threats to and interference with Guardian's customers have
27   artificially stifled Guardian's growth, thereby chilling competition in the Market.
28   ///

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 1           110.    In a February 24, 2020 communication to Guardian, a true and correct copy of
 2   which is attached hereto as Exhibit 22, the City of Gilbert, Arizona advised it was "notified in
 3   writing by Mr. Tyler Miller with Miller Mendel, Inc. about a pending patent infringement case in
 4   Federal Court in Federal Court against Guardian Alliance Technologies," and that "Gilbert does not
 5   want to be involved in this litigation." The City of Gilbert subsequently suspended its use of the
 6   Guardian Platform.
 7           111.    In a March 27, 2020 communication to Guardian, a true and correct of which is
 8   attached hereto as Exhibit 23, the Story County, Iowa Sheriff's Office forwarded a message from
 9   Defendants, in which Miller threatens, "[s]hould the County fail to cease using [Guardian's]
10   infringing service/product, further legal correspondence will have to be forthcoming."
11           112.    In an August 16, 2021 communication, a true and correct copy of which is attached
12   hereto as Exhibit 24, the City of Fresno, California Police Department notified Guardian that it was
13   "terminating its contract with [Guardian] due to the pending litigation involving [Guardian], Miller
14   Mendel, Inc., and law enforcement agencies utilizing [Guardian] software."
15           113.    In an October 13, 2021 communication, a true and correct copy of which is attached
16   hereto as Exhibit 25, the City of Fort Worth, Texas advised Guardian that, because of Defendant
17   MMI's threat that "it intended to sue the City [of Fort Worth] if [it] did not immediately halt all use
18   of the [Guardian] software," the City of Fort Worth "is officially suspending its right to purchase
19   goods or services through the Contract [with Guardian] immediately, pending resolution of the
20   patent litigation in Oklahoma Federal Court."
21           114.    In a January 24, 2022 communication to the Cedar Rapids, Iowa Police Department,
22   which was subsequently forwarded to Guardian, a true and correct copy of which is attached hereto
23   as Exhibit 26, Defendants warned they "will continue to file claims against those who use the
24   [Guardian] software."
25           115.    It's not just that Defendants continue to threaten users of the Guardian Platform
26   aggressively; instead, Defendants have repeatedly made false and misleading statements about the
27   MMI Patent Portfolio as well as the course and outcome of Defendants' lawsuits against users of
28   the Guardian Platform. Defendants' false and misleading statements have significantly affected

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 1   actual and potential users of the Guardian Platform—an inherently risk-averse type of Market
 2   participant.
 3            116.    In a March 26, 2020 communication to Guardian customer the State of Alaska, a
 4   true and correct copy of which is attached hereto as Exhibit 27, Defendants intentionally misstated
 5   the result, scope, and effect of a decision by the Patent Trial and Appeal Board ("PTAB") in a
 6   collateral inter partes review ("IPR") proceeding. Defendants misstated that the PTAB's decision
 7   "illustrates Guardian Alliance Technologies' Infringement and failed attempt to cover his [sic]patent
 8   infringement/theft." As Guardian's counsel promptly pointed out to counsel-of-record for
 9   Defendants, this statement is false as the Patent Trial and Appeal Board does not have jurisdiction
10   to determine liability for infringement of a patent.
11            117.    Despite Guardian's requests to Defendants' counsel to cure these false statements
12   in the marketplace, Defendants ramped up their unfair and anti-competitive actions in the Market.
13   For example, Defendants began publishing and circulating a so-called "memo" in the Market about
14   Guardian and the Guardian Platform. This "memo" contained a "large number of literal falsehoods,
15   egregious misrepresentations and inaccuracies, and selective withholding of material information,"
16   as Guardian's counsel once again pointed out to Defendants' counsel. A true and correct copy of the
17   "memo," as contained in a July 25, 2021 email from Miller to the City of Buckeye, Arizona and
18   subsequently provided to Guardian's counsel, is attached hereto as Exhibit 28.
19            118.    Again, Defendants did not heed Guardian's demands to cease their unfair and anti-
20   competitive behavior; instead, amplifying their efforts by subsequently making the "memo"
21   available to the general public through an October 1, 2021 "open letter" on Defendants' website at
22   https://www.millermendel.com/news/serious-public-concerns-miller-mendels-president-ceos-
23   public-letter-regarding-guardian-background-software/, a true and correct copy of which is attached
24   hereto as Exhibit 29. As of the date of the commencement of this suit, the "memo" and "open letter"
25   are still available at that location.
26            119.    In the "open letter," a true and correct copy of which is attached hereto as Exhibit
27   30, Defendants explain their deliberate decision to target Guardian's vulnerable public safety
28   customers instead of filing suit directly against Guardian:

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 1                   MMI has been asked why it has filed lawsuits against agencies using
                     the Guardian software. The answer is this: the actual use of the
 2                   Guardian software by the agency is the damaging aspect to MMI. If
                     Guardian made the software but no agency "bought" the software to
 3                   use, monetary damage would be little. The agency paying Guardian
                     to use the infringing software is where the damage begins and
 4                   continues.
 5                   ***
 6                   Regardless of whether Guardian indemnifies your agency and
                     employees for your use of the Guardian software, your agency and
 7                   employees will have to navigate the complicated process of
                     defending yourselves in a patent infringement lawsuit, which
 8                   includes producing labor-intensive discovery and (potentially)
                     appearing for depositions.
 9

10    (Emphasis added.) In addition to its misleading, at best, statements of law and fact in this "open
11    letter," Defendants took the liberty of outlining exactly how demanding and taxing the use of the
12    Guardian Platform would be for any public safety agency. The contours of Defendants' unfair,
13    anti-competitive, and monopolistic scheme are quite apparent from this "open letter."
14           120.    Even after Judge Gilstrap, Chief Judge of the Eastern District of Texas invalidated
15   Claims 1, 5, and 15 of the ’188 Patent (i.e., the claims that Defendants have accused Guardian's
16   customers of infringing in the Oklahoma, Oregon, Alaska, and Texas Actions), Defendants'
17   attempts to intimidate actual and potential users of the Guardian Platform remain brazen. Guardian
18   continues to threaten the Market, issuing threats of patent infringement and claiming that
19   Defendants' patent remains in "full force and effect." This facially false and misleading, at best,
20   statement was included in a press release dated May 3, 2022, a true and correct copy of which is
21   attached hereto as Exhibit 31 and still available on Defendants' website as of the commencement of
22   this   suit    (https://www.millermendel.com/news/miller-mendels-esoph-patent-remains-in-full-
23   effect-after-judges-decision/). The statements made in this press release have also been
24   communicated directly to at least some number of users of the Guardian Platform. For example, a
25   true and correct copy of Defendants' May 17, 2022 communication to Guardian customer Siskiyou
26   County (CA) Sheriff's Department attaching the "memo" and "open letter," subsequently provided
27   to Guardian's counsel is attached hereto as Exhibit 32.
28   ///

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 1           121.    Even on the eve of the commencement of this suit, Defendants continue to directly
 2   contact users of the Guardian Platform, once again alerting them that Defendants have sued users
 3   of the Guardian Platform for patent infringement, asserting that all claims of the MMI Patent
 4   Portfolio are in full force and effect despite the Eastern District of Texas's invalidation, and
 5   repeating the egregious allegations contained in the "memo."
 6           122.    These are a few examples of Defendants' unfair, anti-competitive conduct as part
 7   of its overt attempts to stifle competition and monopolize the Market.
 8           123.    Defendants' attempted enforcement of the fraudulently-obtained MMI Patent
 9   Portfolio against current and prospective users of the Guardian Platform, Defendants' spreading of
10   false and misleading statements in the marketplace about certain aspects of the Guardian Platform,
11   and Guardian's business practices (i.e., the allegations found in the "memo"), alone or in
12   combination with Defendants' other unfair, anti-competitive, and monopolistic conduct, has
13   significantly harmed Guardian and injured the Market.
14           124.    Defendants' unfair, anti-competitive, and monopolistic conduct has forced
15   Guardian to expend significant amounts of time, money, and human resources to defend and
16   indemnify its customers that Defendants have sued—including the time and expense incurred by
17   Guardian to explain the falsity of Defendants' statements and actions, and to mitigate the risk of
18   Defendants' potential to bring suit against current and prospective users of the Guardian Platform.
19           125.    Defendants' unfair, anti-competitive, and monopolistic conduct has stifled
20   Guardian's commercial growth and, therefore, competition in the Market due to Guardian's and
21   current and prospective users of the Guardian Platform's fears of having to defend against baseless
22   patent infringement lawsuits. As exemplified above, public safety agencies have ceased use of or
23   refrained from using the Guardian Platform altogether amid Defendants' threats.
24           126.    Guardian and the Market have been harmed by Defendants' procurement of "sole-
25   source" qualification (erroneously awarded based on the fraudulently-obtained MMI Patent
26   Portfolio), thereby allowing Defendants to avoid open and competitive RFP processes for the sale
27   of its public safety background investigation management software, eSOPH. Defendants' sole-
28   source qualification has prevented Guardian, and other competitors of public safety background

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 1   investigation management software, from bidding in RFP processes, thereby decreasing
 2   competition in the Market and maintaining monopoly-level pricing, harming the Market
 3   participants as a whole.
 4           127.    With this suit, Guardian seeks redress and compensation for itself, and on behalf of
 5   the Market, for Defendants' unfair, anti-competitive, and monopolistic conduct. Grant of the relief
 6   sought herein by Guardian will return competition to the Market by reversing the chilling effect
 7   that Defendants' unfair, anti-competitive, monopolistic conduct has had on the Market.
 8                                    FIRST CLAIM FOR RELIEF
 9                        Declaration of Unenforceability of the ’098 Patent for
10                                   Defendants' Inequitable Conduct
11           128.    Guardian incorporates and realleges paragraphs 1–127 herein by reference.
12           129.    Specifically, Guardian incorporates by reference the allegations set forth in
13   paragraphs 33–78 above.
14           130.    An immediate, real, and justiciable controversy exists between Guardian and
15   Defendants regarding the enforceability of the ’098 Patent.
16           131.    Guardian seeks a judgment declaring that the claims of the ’098 Patent are
17   unenforceable under the doctrine of inequitable conduct.
18                                   SECOND CLAIM FOR RELIEF
19                        Declaration of Unenforceability of the ’188 Patent for
20                                   Defendants' Inequitable Conduct
21           132.    Guardian incorporates and realleges paragraphs 1–131 herein by reference.
22           133.    Specifically, Guardian incorporates by reference the allegations set forth in
23   paragraphs 33–78 above.
24           134.    An immediate, real, and justiciable controversy exists between Guardian and
25   Defendants regarding the enforceability of the ’188 Patent.
26           135.    Guardian seeks a judgment declaring that the claims of the ’188 Patent are
27   unenforceable under the doctrine of inequitable conduct.
28   ///

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 1                                    THIRD CLAIM FOR RELIEF
 2                        Declaratory Judgment of Invalidity of the ’098 Patent
 3                              Under 35 U.S.C. §§ 101, 102, 103, and 112
 4           136.    Guardian incorporates and realleges paragraphs 1–135 herein by reference.
 5           137.    Specifically, Guardian incorporates by reference the allegations set forth in
 6   paragraphs 33–94 above.
 7           138.    All claims of the ’098 Patent are invalid under at least 35 U.S.C. §§ 101, 102, 103,
 8   and 112.
 9           139.    An immediate, real, and justiciable controversy exists between Guardian and
10   Defendants regarding the validity of the ’098 Patent.
11           140.    Guardian seeks a judgment declaring that the claims of the ’098 Patent are invalid.
12                                   FOURTH CLAIM FOR RELIEF
13                        Declaratory Judgment of Invalidity of the ’188 Patent
14                              Under 35 U.S.C. §§ 101, 102, 103, and 112
15           141.    Guardian incorporates and realleges paragraphs 1–140 herein by reference.
16           142.    Specifically, Guardian incorporates by reference the allegations set forth in
17   paragraphs 33–94 above.
18           143.    All claims of the ’098 Patent are invalid under at least 35 U.S.C. §§ 101, 102, 103,
19   and 112.
20           144.    An immediate, real, and justiciable controversy exists between Guardian and
21   Defendants regarding the validity of the ’188 Patent.
22           145.    Guardian seeks a judgment declaring that the claims of the ’098 Patent are invalid.
23                                    FIFTH CLAIM FOR RELIEF
24                             Walker Process: Attempted Monopolization in
25                          Violation of § 2 of the Sherman Act, 15 U.S.C. § 2
26           146.    Guardian incorporates and realleges paragraphs 1–145 herein by reference.
27   ///
28   ///

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 1           147.    Defendants have attempted to monopolize the Background Investigation
 2   Management Software Management Market, a nationwide market in which Defendants are actively
 3   engaged in interstate commerce.
 4           148.    Defendants have attempted to monopolize the Market with the specific intent to do
 5   so through their fraudulent misrepresentations and omissions to the USPTO in connection with the
 6   prosecution of the MMI Patent Portfolio, creating a dangerous probability that Defendants will
 7   obtain a monopoly in the Market in violation of Section 2 of the Sherman Act (15 U.S.C. § 2).
 8           149.    The MMI Patent Portfolio that Defendants asserted and threatened to assert against
 9   Guardian and its customers was invalid and unenforceable due to inequitable conduct, as a result
10   of egregious affirmative misconduct before the USPTO and/or intentional withholding of
11   information that was but-for material to patentability, and/or unclean hands based on egregious
12   misconduct before the USPTO in the prosecution of the MMI Patent Portfolio.
13           150.    Defendants knew that the ’098 and ’188 Patents asserted against Guardian and its
14   customers were invalid and unenforceable at the time of those assertions and attempted assertions,
15   as described in paragraphs 33 to 94, above.
16           151.    As a direct and proximate result of Defendants' unlawful conduct, competition in
17   the Market has been severely harmed through price control, less innovation, lower quality, and
18   fewer options for customers.
19           152.    As a direct and proximate result of Defendants' unlawful conduct, Guardian has
20   been harmed in an amount to be established at trial. Guardian's damages include the attorneys' fees
21   and costs it has been forced to incur in defending against Defendants' baseless claims for
22   infringement against Guardian and its customers, as well as the anti-competitive harm it has
23   suffered as a result of Defendants' unlawful attempt to acquire and maintain a monopoly in the
24   Market, including loss of past and future profits and loss of past and future customers and customer
25   goodwill.
26           153.    Defendants' unlawful conduct will continue unless enjoined, resulting in irreparable
27   injury to Guardian for which it has no adequate remedy at law.
28   ///

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 1                                     SIXTH CLAIM FOR RELIEF
 2                      Handgards: Attempted Monopolization in Violation of § 2
 3                                   of the Sherman Act, 15 U.S.C. § 2
 4           154.    Guardian incorporates and realleges paragraphs 1–153 herein by reference.
 5           155.    Defendants have attempted to monopolize the Public Safety Background
 6   Investigation Software Management Market, a nationwide market in which Defendants are actively
 7   engaged in interstate commerce.
 8           156.    Defendants have attempted to monopolize the Market with the specific intent to do
 9   so through sham legal actions asserting infringement of MMI Patent Portfolio against Guardian and
10   its customers, creating a dangerous probability that Defendants will obtain a monopoly in the
11   Market, in violation of Section 2 of the Sherman Act (15 U.S.C. § 2).
12           157.    As a direct and proximate result of Defendants' unlawful conduct, competition in
13   the Market has been severely harmed through price control, less innovation, lower quality, and
14   fewer options for customers.
15           158.    As a direct and proximate result of Defendants' unlawful conduct, Guardian has
16   been harmed in an amount to be established at trial. Guardian's damages include the attorneys' fees
17   and costs it has been forced to incur in defending against Defendants' baseless claims for
18   infringement against Guardian and its customers, as well as the anti-competitive harm it has
19   suffered as a result of Defendants' unlawful attempt to acquire and maintain a monopoly in the
20   Market, including loss of past and future profits and loss of past and future customers and customer
21   goodwill.
22           159.    Defendants' unlawful conduct will continue unless enjoined, resulting in irreparable
23   injury to Guardian for which it has no adequate remedy at law.
24                                  SEVENTH CLAIM FOR RELIEF
25                                     California Unfair Competition
26                                  CAL BUS. & PROF. CODE § 17200
27           160.    Guardian incorporates and realleges paragraphs 1–159 herein by reference.
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 1           161.    Defendants' unfair or fraudulent business actions and unfair, deceptive, untrue, or
 2   misleading advertising is prohibited by Chapter 1 of Part 3 of Division 7 of the California Business
 3   and Professions Code.
 4           162.    Defendants have engaged in unfair competition and should, therefore, be enjoined
 5   by this court, preventing Defendants from the use or employment by any person of any practice
 6   which constitutes unfair competition, as is necessary to restore Guardian's interests.
 7           163.    Defendants have realized revenue and profits by virtue of their wrongful acts that
 8   they otherwise would not have obtained and to which they are not entitled. Guardian is entitled to
 9   Civil Penalties as indicated in Cal. Bus. & Prof. Code § 17206.
10           164.    Defendants' conduct injured Guardian's commercial interest in its sales and profits
11   and its business in an amount of damages to be determined at trial.
12           165.    Defendants' conduct has caused and, unless and until such acts are restrained and
13   enjoined by this court, will continue to cause irreparable injury to Guardian.
14           166.    As a result of Defendants' actions, Guardian has suffered and will continue to suffer
15   damages in an amount to be proven at trial.
16                                    EIGHTH CLAIM FOR RELIEF
17                                       California False Advertising
18                                  CAL BUS. & PROF. CODE § 17500
19           167.    Guardian incorporates and realleges paragraphs 1–166 herein by reference.
20           168.    Defendants disseminated false, misleading, and/or disparaging statements knowing
21   that the statements were false or in reckless disregard for the truth of the matter, with the intention
22   selling their own services.
23           169.    Defendants have made false, misleading, and/or disparaging statements
24   nationwide, including in California, and those statements were further disseminated to the relevant
25   purchasing public in the Market, including in California.
26           170.    Defendants’ false, misleading, and/or disparaging statements have misled, or will
27   likely mislead, actual or potential purchasers of Guardian’s services, damaged Guardian’s
28   reputation in the Market, lessened the goodwill in the Market associated with Guardian’s services,

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 1   and wrongfully diverted sales of services to Defendants. As a result, Guardian has suffered
 2   pecuniary losses as a result of Defendants’ false, misleading, and disparaging statements.
 3           171.    Defendants' conduct has caused and, unless and until such acts are restrained and
 4   enjoined by this court, will continue to cause irreparable injury to Guardian.
 5           172.    As a result of Defendants' actions, Guardian has suffered and will continue to suffer
 6   damages in an amount to be proven at trial.
 7                                     NINTH CLAIM FOR RELIEF
 8                                  Tortious Interference with Contract
 9           173.    Guardian incorporates and realleges paragraphs 1–172 herein by reference.
10           174.    Defendants knew when soliciting, attempting to enforce, and/or threatening to
11   enforce its fraudulently-obtained patent portfolio against Guardian's actual customers that
12   Defendants had procured those patents through fraud committed on the USPTO.
13           175.    Such solicitation, attempted and/or threatened enforcement resulted in current
14   Guardian customers electing to no longer use the Guardian Platform.
15           176.    Those actions and those described above constitute intentional interference with
16   Guardian's contractual and business relationships.
17           177.    Guardian has been damaged by such interference and is entitled to an award of
18   compensatory and punitive damages in an amount to be determined at trial but in excess of $75,000.
19           178.     Guardian is entitled to judgment in its favor and against Defendants in an amount
20   in excess of $75,000, plus its costs, including reasonable attorneys' fees, plus prejudgment and post-
21   judgment interest as provided by law.
22                                     TENTH CLAIM FOR RELIEF
23                     Tortious Interference with Prospective Business Advantage
24           179.    Guardian incorporates and realleges paragraphs 1–178 herein by reference.
25           180.    Defendants knew when soliciting, attempting to enforce, and/or threatening to
26   enforce its fraudulently-obtained patent portfolio against Guardian's prospective customers that
27   Defendants had procured those patents through fraud committed on the USPTO.
28   ///

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 1           181.    Such solicitation, attempted and/or threatened enforcement resulted in prospective
 2   Guardian customers electing to not use the Guardian Platform and, instead, use Defendants’ eSOPH
 3   software.
 4           182.    Those actions and those described above constitute intentional interference with
 5   Guardian's prospective business relationships.
 6           183.    Guardian has been damaged by such interference and is entitled to an award of
 7   compensatory and punitive damages in an amount to be determined at trial but in excess of $75,000.
 8           184.    Guardian is entitled to judgment in its favor and against Defendants in an amount
 9   in excess of $75,000, plus its costs, including reasonable attorneys' fees, plus prejudgment and post-
10   judgment interest as provided by law.
11                                  ELEVENTH CLAIM FOR RELIEF
12                                                Trade Libel
13           185.    Guardian incorporates and realleges paragraphs 1–184 herein by reference.
14           186.    Defendants' communications to Guardian's current and prospective customers
15   regarding the status of the various litigations and proceedings between Guardian, its customers, and
16   Defendants, and Defendants' "memo" and "open letter" published by Defendants on their website
17   and disseminated to multiple Guardian current and prospective customers, contain false statements
18   that are injurious to Guardian and its business of providing public safety background investigation
19   management software to public safety agencies.
20           187.    Specifically, Defendants have falsely represented to numerous Guardian customers
21   that the USPTO issued a decision that "illustrates Guardian Alliance Technologies' Infringement
22   and failed attempt to cover his (sic) patent infringement/theft." That statement is literally false, as
23   the USPTO never issued any decision finding that Guardian infringed any of the Defendants' patents
24   and, in fact, does not even have the authority or jurisdiction to do so.
25           188.    Moreover, the "memo" and "open" letter contain literal falsehoods regarding the
26   status of Defendants' various litigations and proceedings against Guardian and its customers, as
27   well as literal falsehoods regarding the integrity of applicant data collected and stored in the
28   Guardian Platform.

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       COMPLAINT                                                                                 1260427.3
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 1           189.    Defendants have always been aware of its accused statements' false, malicious, and
 2   injurious nature. Even after Guardian and its counsel made Defendants aware of the literal falsity
 3   of its statements, Defendants refused to retract the statements and, in fact, ramped up their
 4   dissemination of the same. Defendants are, therefore, without excuse or justification for their acts
 5   and statements. They have made such statements and engaged in such acts with disinterested
 6   malevolence and hatred, all for inflicting harm upon Guardian.
 7           190.    As a direct result of Defendants' false statements, multiple Guardian customers
 8   have elected to discontinue their use of the Guardian Platform. This includes but is not limited to
 9   the Fresno (CA) Police Department, the City of Fort Worth (TX), and the City of Buckeye (AZ),
10   resulting in actual damages to Guardian in an amount to be proven at trial.
11                                        PRAYER FOR RELIEF
12   WHEREFORE, Guardian prays for judgment and relief as follows:
13          A.       A declaratory judgment that the ’098 Patent is unenforceable for Defendants'
14   inequitable conduct;
15          B.       A declaratory judgment that the ’188 Patent is unenforceable for Defendants'
16   inequitable conduct;
17          C.       A declaratory judgment that the ’098 Patent is invalid;
18          D.       A declaratory judgment that the ’188 Patent is invalid;
19          E.       A judgment in favor of Guardian declaring that Defendants have attempted to
20   monopolize the Public Safety Background Investigation Management Software Market in
21   violation of Section 2 of the Sherman Act, 15 U.S.C. § 2;
22          F.       A permanent injunction against Defendants, their respective officers, agents,
23   servants, directors, and employees, and all persons in active concert or participation with each,
24   from monopolizing and attempting to monopolize the relevant markets under Section 16 of the
25   Clayton Act, 15 U.S.C. § 26;
26          G.       A permanent injunction against Defendants from enforcing or attempting to
27   enforce any claims of any patent or patent application in the MMI Patent Portfolio or any claims
28   ///

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       COMPLAINT                                                                                1260427.3
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 1   of any patent or patent application that claims priority to any patent or patent application in the
 2   MMI Patent Portfolio;
 3           H.         A permanent injunction against Defendants from using any false or misleading
 4   statements which can or are likely to influence customers' purchasing decisions of any of
 5   Defendants' services or products;
 6           I.         A judgment and order requiring Defendants to account to Guardian for all sales
 7   and profits from the sale of any of Defendants' services or products as a result of any false or
 8   misleading statements, or for any sum in addition to that amount the Court and/or jury awards;
 9           J.         An award to Guardian of actual and compensatory damages, including but not
10   limited to lost profits and attorneys' fees and costs, trebled by law, plus interest;
11           K.         A judgment and order requiring Defendants to disgorge its profits and other ill-
12   gotten gains resulting from their wrongful conduct;
13           L.         A judgment and order for Guardian to be awarded punitive and/or enhanced
14   damages because of Defendants' wanton and deliberate illegal acts committed with oppression,
15   fraud, and malice;
16           M.         A judgment finding that this is an exceptional case and awarding attorneys' fees
17   pursuant to 35 U.S.C. § 285;
18           N.         A judgment and order allowing Guardian to recover all taxable costs of this
19   actions, including reasonable attorneys' fees and both pre-and post-judgment interest; and
20           O.         Any and all other relief, at law or equity, to which Guardian may show itself to be
21   entitled.
22                                        DEMAND FOR JURY TRIAL
23               Under Rule 38 of the Federal Rules of Civil Procedure, Guardian requests a trial by jury of
24   any issues so triable by right.
25    ///
26    ///
27    ///
28    ///

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       COMPLAINT                                                                                  1260427.3
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 1   Dated: August 5, 2022              BOUTIN JONES INC.
                                        Attorneys at Law
 2

 3
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      COMPLAINT                                                               1260427.3
